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Statement for the Period June 1, 2015 to June 30, 2015

BEVAN TROY COONEY FAMILY TRUST - Trust: Under Agreemnt

Account Number: MGR-200234

Holdings

City NATIONAL SECURITIES

The Broker/Gealer Subsidiary of City National Bank

NFS-provided cost basis, realized gain (loss) and holdiag period information may not reflect all adjustments necessary for tax purposes. Please refer ta Footnotes and Cost Basis Informatior at the end of this

Statement for more information.

CASH AND CASH EQUIVALENTS - 0.00% of Total Account Value

Symbol/Cusip Price on Current
Description Account Type Quantity O5/20/15 Market Value
Money Markets
CITY NATL ROCHDALE GOVT MMKT CLN CNGXX 24 $1.00 $2.74
TDAY YIELD 01% CASH
Dividend Optioa Cash
Capital Gain tion Cash
Total Cash and Cash Equivalents $2.74
HOLDINGS > LOQUITIES - 100,00% of Total Account Value
Symbol/Cusip Price on Current Total Unrealized
Description Account Type Quantity 05/20/15 Markat Value Cost Basis Gain (Loss)
Equity
CODE REBEL CORP COM CDRB 370,000 $32.37 $11,976,900.00
Dividend Option Cash RESSTK

Capital Gain Ootion Cash

Total Equities

$11,976,900.00

Total Securities

$11,976,900.00

TOTAL PORTFOLIO VALUE

$11,976,902.74

Account carried with National Financial Services LLC, Member

NYSE, SIPC

MN _CEBBLGOKBBBGHDC BBBBB 20150630

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